Case 2:20-cv-07194-JAK-MAA Document 1 Filed 08/11/20 Page 1 of 7 Page ID #:1




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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11      Antonio Fernandez,                     Case No.

12               Plaintiff,
                                               Complaint For Damages And
13        v.                                   Injunctive Relief For Violations
                                               Of: Americans With Disabilities
14      Mario De La Torre Jr.;                 Act; Unruh Civil Rights Act
        Armando De La Torre; and Does
15      1-10,

16               Defendants.

17
18          Plaintiff Antonio Fernandez complains of Mario De La Torre Jr.;

19   Armando De La Torre; and Does 1-10 (“Defendants”), and alleges as follows:

20
21      PARTIES:

22      1. Plaintiff is a California resident with physical disabilities. He is

23   paralyzed from the waist down and uses a wheelchair for mobility.

24      2. Defendants Mario De La Torre Jr. and Armando De La Torre owned the

25   real property located at or about 3029 Wabash Avenue, Los Angeles,

26   California, in April 2020.

27      3. Defendant Mario De La Torre Jr. and Armando De La Torre own the real

28   property located at or about 3029 Wabash Avenue, Los Angeles, California,


                                           1

     Complaint
Case 2:20-cv-07194-JAK-MAA Document 1 Filed 08/11/20 Page 2 of 7 Page ID #:2




 1   currently.
 2      4. Plaintiff does not know the true names of Defendants, their business
 3   capacities, their ownership connection to the property and business, or their
 4   relative responsibilities in causing the access violations herein complained of,
 5   and alleges a joint venture and common enterprise by all such Defendants.
 6   Plaintiff is informed and believes that each of the Defendants herein,
 7   including Does 1 through 10, inclusive, is responsible in some capacity for the
 8   events herein alleged, or is a necessary party for obtaining appropriate relief.
 9   Plaintiff will seek leave to amend when the true names, capacities,
10   connections, and responsibilities of the Defendants and Does 1 through 10,
11   inclusive, are ascertained.
12
13      JURISDICTION & VENUE:
14      5. The Court has subject matter jurisdiction over the action pursuant to 28
15   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
17      6. Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising from the same nucleus of operative facts and arising out of
19   the same transactions, is also brought under California’s Unruh Civil Rights
20   Act, which act expressly incorporates the Americans with Disabilities Act.
21      7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
22   founded on the fact that the real property which is the subject of this action is
23   located in this district and that Plaintiff's cause of action arose in this district.
24
25      FACTUAL ALLEGATIONS:
26      8. Plaintiff went to the property to shop at Grand Joy Mart (“Store”) in April
27   2020 with the intention to avail himself of its good and to assess the business
28   for compliance with the disability access laws.


                                               2

     Complaint
Case 2:20-cv-07194-JAK-MAA Document 1 Filed 08/11/20 Page 3 of 7 Page ID #:3




 1      9. The Store is a facility open to the public, a place of public
 2   accommodation, and a business establishment.
 3      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 4   to provide wheelchair accessible paths of travel inside the Store in
 5   conformance with the ADA Standards as it relates to wheelchair users like the
 6   plaintiff.
 7      11. On information and belief, the defendants currently fail to provide
 8   wheelchair accessible paths of travel inside the Store.
 9      12. Additionally, on the date of the plaintiff’s visit, the defendants failed to
10   provide wheelchair sales counters in conformance with the ADA Standards as
11   it relates to wheelchair users like the plaintiff.
12      13. On information and belief, the defendants currently fail to provide
13   wheelchair accessible sales counters.
14      14. These barriers relate to and impact the plaintiff’s disability. Plaintiff
15   personally encountered these barriers.
16      15. As a wheelchair user, the plaintiff benefits from and is entitled to use
17   wheelchair accessible facilities. By failing to provide accessible facilities, the
18   defendants denied the plaintiff full and equal access.
19      16. The failure to provide accessible facilities created difficulty and
20   discomfort for the Plaintiff.
21      17. The defendants have failed to maintain in working and useable
22   conditions those features required to provide ready access to persons with
23   disabilities.
24      18. The barriers identified above are easily removed without much
25   difficulty or expense. They are the types of barriers identified by the
26   Department of Justice as presumably readily achievable to remove and, in fact,
27   these barriers are readily achievable to remove. Moreover, there are numerous
28   alternative accommodations that could be made to provide a greater level of


                                               3

     Complaint
Case 2:20-cv-07194-JAK-MAA Document 1 Filed 08/11/20 Page 4 of 7 Page ID #:4




 1   access if complete removal were not achievable.
 2      19. Plaintiff will return to the Store avail himself of its goods and to
 3   determine compliance with the disability access laws once it is represented to
 4   him that the Store and its facilities are accessible. Plaintiff is currently deterred
 5   from doing so because of his knowledge of the existing barriers and his
 6   uncertainty about the existence of yet other barriers on the site. If the barriers
 7   are not removed, the plaintiff will face unlawful and discriminatory barriers
 8   again.
 9      20. Given the obvious and blatant nature of the barriers and violations
10   alleged herein, the plaintiff alleges, on information and belief, that there are
11   other violations and barriers on the site that relate to his disability. Plaintiff will
12   amend the complaint, to provide proper notice regarding the scope of this
13   lawsuit, once he conducts a site inspection. However, please be on notice that
14   the plaintiff seeks to have all barriers related to his disability remedied. See
15   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
16   encounters one barrier at a site, he can sue to have all barriers that relate to his
17   disability removed regardless of whether he personally encountered them).
18
19   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
20   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
21   Defendants.) (42 U.S.C. section 12101, et seq.)
22      21. Plaintiff re-pleads and incorporates by reference, as if fully set forth
23   again herein, the allegations contained in all prior paragraphs of this
24   complaint.
25      22. Under the ADA, it is an act of discrimination to fail to ensure that the
26   privileges, advantages, accommodations, facilities, goods and services of any
27   place of public accommodation is offered on a full and equal basis by anyone
28   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.


                                               4

     Complaint
Case 2:20-cv-07194-JAK-MAA Document 1 Filed 08/11/20 Page 5 of 7 Page ID #:5




 1   § 12182(a). Discrimination is defined, inter alia, as follows:
 2            a. A failure to make reasonable modifications in policies, practices,
 3                or procedures, when such modifications are necessary to afford
 4                goods,    services,    facilities,   privileges,    advantages,   or
 5                accommodations to individuals with disabilities, unless the
 6                accommodation would work a fundamental alteration of those
 7                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8            b. A failure to remove architectural barriers where such removal is
 9                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
10                defined by reference to the ADA Standards.
11            c. A failure to make alterations in such a manner that, to the
12                maximum extent feasible, the altered portions of the facility are
13                readily accessible to and usable by individuals with disabilities,
14                including individuals who use wheelchairs or to ensure that, to the
15                maximum extent feasible, the path of travel to the altered area and
16                the bathrooms, telephones, and drinking fountains serving the
17                altered area, are readily accessible to and usable by individuals
18                with disabilities. 42 U.S.C. § 12183(a)(2).
19      23. When a business provides paths of travel, it must provide accessible
20   paths of travel.
21      24. Here, accessible paths of travel have not been provided in conformance
22   with the ADA Standards.
23      25. When a business provides facilities such as sales or transaction counters,
24   it must provide accessible sales or transaction counters.
25      26. Here, accessible sales counters have not been provided in conformance
26   with the ADA Standards.
27      27. The Safe Harbor provisions of the 2010 Standards are not applicable
28   here because the conditions challenged in this lawsuit do not comply with the


                                             5

     Complaint
Case 2:20-cv-07194-JAK-MAA Document 1 Filed 08/11/20 Page 6 of 7 Page ID #:6




 1   1991 Standards.
 2      28. A public accommodation must maintain in operable working condition
 3   those features of its facilities and equipment that are required to be readily
 4   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 5      29. Here, the failure to ensure that the accessible facilities were available
 6   and ready to be used by the plaintiff is a violation of the law.
 7   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 8   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 9   Code § 51-53.)
10      30. Plaintiff repleads and incorporates by reference, as if fully set forth
11   again herein, the allegations contained in all prior paragraphs of this
12   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
13   that persons with disabilities are entitled to full and equal accommodations,
14   advantages, facilities, privileges, or services in all business establishment of
15   every kind whatsoever within the jurisdiction of the State of California. Cal.
16   Civ. Code §51(b).
17      31. The Unruh Act provides that a violation of the ADA is a violation of the
18   Unruh Act. Cal. Civ. Code, § 51(f).
19      32. Defendants’ acts and omissions, as herein alleged, have violated the
20   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
21   rights to full and equal use of the accommodations, advantages, facilities,
22   privileges, or services offered.
23      33. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
24   discomfort or embarrassment for the plaintiff, the defendants are also each
25   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
26   (c).)
27
28           PRAYER:


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     Complaint
Case 2:20-cv-07194-JAK-MAA Document 1 Filed 08/11/20 Page 7 of 7 Page ID #:7




 1          Wherefore, Plaintiff prays that this Court award damages and provide
 2   relief as follows:
 3       1. For injunctive relief, compelling Defendants to comply with the
 4   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 5   plaintiff is not invoking section 55 of the California Civil Code and is not
 6   seeking injunctive relief under the Disabled Persons Act at all.
 7       2. Damages under the Unruh Civil Rights Act, which provides for actual
 8   damages and a statutory minimum of $4,000 for each offense.
 9       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
10   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
11
     Dated: July 26, 2020             CENTER FOR DISABILITY ACCESS
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13
                                      By:
14
15                                    ________________________

16                                           Russell Handy, Esq.
                                             Attorney for plaintiff
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     Complaint
